     Case 8:21-bk-10635-ES        Doc 765 Filed 08/03/22 Entered 08/03/22 08:52:33                   Desc
                                    Main Document Page 1 of 1



     Alicia Marie Richards
 1   351 Catalina Drive
 2   Newport Beach, CA 92663                                             FILED & ENTERED
     (949)813-6138
 3   Richardsalicia007@gmail.com
     Debtor in pro se                                                           AUG 03 2022
 4
                                                                           CLERK U.S. BANKRUPTCY COURT
 5                                                                         Central District of California
                                                                           BY jle        DEPUTY CLERK

 6                                UNITED STATES BANKRUPTCY COURT

 7                     CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 8   IN RE:                                          )     CHAPTER 7
                                                     )     Case No. 8:21-bk-10635-ES
 9   ALICIA MARIE RICHARDS,                          )
                                                     )     ORDER DENYING REQUEST TO CONTINUE
10                                                   )     HEARING ON FIRST INTERIM APPLICATION
                                                     )     FOR ALLOWANCE OF FEES AND COSTS
11                                 Debtor.           )     FILED BY MARSHACK HAYS LLP AS
                                                     )     GENERAL COUNSEL FOR TRUSTEE;
12                                                   )
                                                     )     Hearing Date: August 18, 2022
13                                                   )     Time: 10:30 a.m.
                                                     )     Place: Courtroom 5A, 411 W. Fourth Street
14                                                   )                      Santa Ana, CA 92701
                                                     )                      Via ZoomGov
15                                                   )
16            On July 31, 2022, Alicia Marie Richards (“Debtor”) filed a “Request to Continue Hearing on
17
     First Interim Application for Allowance of Fees and Costs Filed by Marshack Hays LLP As General
18
     Counsel for Trustee” (the “Request”) [dkt 758]. The Court having considered the Request, Opposition,
19
     and Reply, and good cause appearing, it is hereby
20

21            ORDERED that the Request is denied for insufficient grounds stated therefor.

22                                                       ###

23        Date: August 3, 2022

24

25

26
27

28
